       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


                                     NO. 03-23-00441-CR


                                    Ron Guzman, Appellant

                                                v.

                                 The State of Texas, Appellee


                 FROM THE 22ND DISTRICT COURT OF HAYS COUNTY
        NO. CR-06-137-A, THE HONORABLE R. BRUCE BOYER, JUDGE PRESIDING



                            MEMORANDUM OPINION


               In July 2006, Appellant Ron Guzman pleaded guilty of one count of indecency

with a child and four counts of aggravated sexual assault of a child. See Tex. Penal Code

§§ 21.11, 22.021. The trial court sentenced him to twenty-years’ imprisonment for the indecency

offense and forty-years’ imprisonment for each aggravated sexual assault offense to run

concurrently pursuant to a plea agreement. See id. §§ 12.32, 12.33. He appeals from the trial

court’s denial of his subsequent motion for forensic DNA testing. See Tex. Code Crim. Proc.

arts. 64.01 (explaining when convicted person may file motion requesting testing of DNA

evidence), .03 (listing requirements for convicting court to order DNA testing).

                Appellant’s court-appointed attorney has filed a motion to withdraw as counsel

along with a brief concluding that the appeal is frivolous and presents no arguably meritorious

issues. The brief meets the requirements of Anders v. California by presenting a professional

evaluation of the record demonstrating why there are no arguable grounds to be advanced.
See 386 U.S. 738, 744 (1967); Garner v. State, 300 S.W.3d 763, 766 (Tex. Crim. App. 2009);

see also Penson v. Ohio, 488 U.S. 75, 81–82 (1988). Appellant’s counsel has certified to this

Court that he sent copies of the motion and brief to appellant, advised appellant of his right to

examine the appellate record and file a pro se response, and provided a motion to assist appellant

in obtaining the record. See Kelly v. State, 436 S.W.3d 313, 319–20 (Tex. Crim. App. 2014); see

also Anders, 386 U.S. at 744. Appellant filed a pro se response on July 9, 2024.

                 We have conducted an independent review of the record—including the record

of the Chapter 64 proceedings, appellate counsel’s brief, and appellant’s pro se response—and

find no reversible error. See Anders, 386 U.S. at 744; Garner, 300 S.W.3d at 766; Bledsoe

v. State, 178 S.W.3d 824, 826–27 (Tex. Crim. App. 2005). We agree with counsel that the

record presents no arguably meritorious grounds for review and that the appeal is frivolous.

               We affirm the judgment and grant counsel’s motion to withdraw.



                                             __________________________________________
                                             Darlene Byrne, Chief Justice

Before Chief Justice Byrne, Justices Smith and Theofanis

Affirmed

Filed: August 23, 2024

Do Not Publish




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